UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     06/07/2019
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CITY OF ALMATY, KAZAHKSTAN, and
BTA BANK JSC,
                                                 Plaintiffs,                 ORDER

                             -against-                               15-CV-05345 (AJN) (KHP)

MUKHTAR ABLYAZOV, ILYAS KHRAPUNOV,
VIKTOR KHRAPUNOV and TRIADOU SPV S.A.,

                                                 Defendants.
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CITY OF ALMATY, KAZAHKSTAN, and
BTA BANK JSC,
                                                 Plaintiffs,

                                  -against-                          18-MC-227 (AJN) (KHP)

GENNADY PETELIN,
                                                 Defendant.
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KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

        On June 4, 2019, the parties attended a pre-motion conference before this Court. As discussed

during the conference, an evidentiary hearing concerning Plaintiffs' Motion for Sanctions and

Contempt against Gennady Petelin is hereby scheduled for September 24, 2019 at 10:00 a.m. in

Courtroom 17-D, United States Courthouse, 500 Pearl Street, New York, New York.

        In advance of the hearing, the Court will permit the parties to exchange document requests and

up to five contention interrogatories that should be served by no later than June 19, 2019 and should

be answered by no later than July 19, 2019. No depositions will be permitted. Because the Court will

permit post-hearing briefing, the parties should not file any briefs prior to the hearing.
SO ORDERED.

Dated: June 7, 2019
       New York, New York
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                            KATHARINE H. PARKER
                            United States Magistrate Judge




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